       CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25      Page 1 of 23




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

THERESA M. KOTALIK, DEBRA A. WISNER,
KERRY CLEMENTS, and JOSEPH L.
CLEMENT, individually, and as representatives of
                      1.                                      Case No. 0:25-CV-01751
a Class of Participants and Beneficiaries of
UnitedHealth Group 401(k) Savings Plan,
                                                              Class Action Complaint For
               Plaintiffs,                                       Claims Under 29 U.S.C. § 1132(a)(2)
               v.

UNITEDHEALTH GROUP INCORPORATED,
and ADMINISTRATIVE COMMITTEE FOR THE
UNITEDHEALTH GROUP 401(K) SAVINGS
PLAN

              Defendants.




                                CLASS ACTION COMPLAINT


       Plaintiffs, Theresa M. Kotalik, Debra A. Wisner, Kerry Clements, and Joseph L. Clement

(“Plaintiffs”), individually and as representatives of a Class of Participants and Beneficiaries of

the UnitedHealth Group 401(k) Savings Plan (“Plan” or “UnitedHealth Plan”), by their counsel,

WALCHESKE & LUZI, LLC and CUMMINS & BONESTROO, allege and assert to the best of
their knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances, the following:

                                        INTRODUCTION

       1.      401(k) defined contribution plans such as the UnitedHealth Plan have become

America’s primary retirement savings vehicle. As with all defined contribution retirement plans

that require participants to bear the costs of plan administration, the Plan participants’ retirement

savings suffer when the Plan fiduciaries mismanage plan assets, when employers use Plan assets

for their own benefit, or pay excessive plan recordkeeping and administrative (“RKA”) fees.



                                                 1
       CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25      Page 2 of 23




       2.      Defendants UnitedHealth Group, Inc. (“UnitedHealth”) and the Administrative

Committee for the UnitedHealth Group 401(k) Savings Plan (“Plan Committee”) (collectively,

“Defendants”), utilized the Plan’s forfeitures, a type of plan asset to benefit themselves by reducing

their future employer contributions to the Plan, violating ERISA’s fiduciary duties of loyalty and

prudence, as well as the fiduciary and party-in-interest prohibited transaction rules.

       3.      Plaintiffs, current and former participants in the UnitedHealth Plan, bring this

ERISA action in a representative capacity on behalf of the Plan under 29 U.S.C. §§ 1132(a)(2),

and under Fed. R. Civ. P. 23. as representatives of a class of participants and beneficiaries of the

UnitedHealth Plan, against Defendants for breaches of the duties of loyalty and prudence, as well

as for fiduciary and parties-in-interest transactions prohibited by ERISA.

       4.      The allegations in this complaint contend that Plan forfeitures should have been

used to pay Plan expenses instead of employer contributions. The allegations do not concern the

compensation received by the Plan’s service providers and investment advisors or that the Plan

Committee selected imprudent Plan investments.

       5.      Plaintiffs’ claims are brought on behalf of the Plan and seek equitable remedies for

losses suffered by the Plan under 29 U.S.C. §§ 1132(a)(2) and 409(a).

       6.      More specifically, and as set forth in more detail below, Plaintiffs allege that

Defendants: (a) improperly utilized forfeited Plan assets to disloyally reduce future employer

contributions for their own selfish interests; (b) did not engage in a prudent process when deciding

to use Plan forfeitures for the employer’s own benefit rather than to reduce Plan expenses; (c)

failed to monitor those responsible on the Plan Committee for allocation of Plan forfeitures; (d)

engaged in party-in-interest fiduciary prohibited transactions by enriching themselves through

Plan forfeitures; and (e) engaged in fiduciary prohibited transactions by favoring their own

accounts with Plan forfeitures.




                                                  2
       CASE 0:25-cv-01751-ECT-ECW               Doc. 1      Filed 04/28/25       Page 3 of 23




                                 JURISDICTION AND VENUE

        7.      This Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331

because this is an action under 29 U.S.C. §§ 1132(a)(2) and (3) for which federal district courts

have exclusive jurisdiction under 29 U.S.C. § 1132(e)(1).

        8.      This Court has personal jurisdiction over Defendants because they transact business

in this District, reside in this District, and have significant contacts with this District, and because

ERISA provides for nationwide service of process.

        9.      This district is the proper venue for this action under 29 U.S.C. § 1132(e)(2) and

29 U.S.C. § 1391(b)(2) since a substantial part of the events or omissions giving rise to the claim

occurred here

                                   PARTIES AND THE PLAN
        10.     UnitedHealth     Group      Incorporated     is    an    American multinational for-

profit company specializing in health insurance and health care services based in Eden Prairie,

Minnesota. Selling insurance products under UnitedHealthcare, and health care services under

the Optum brand, it is the world's ninth-largest company by revenue and the largest health care

company by revenue. The headquarters are located at 9900 Bren Rd E Minnetonka, MN 55343.

       11.      The UnitedHealth Plan is a defined contribution employee pension benefit plan

under 29 U.S.C. § 1002(2)(A) and § 1002(34).
       12.      UnitedHealth is the Plan’s sponsor under 29 U.S.C. § 1002(16)(B).

       13.      Under 12.3 of the Plan document, Defendant UnitedHealth delegated to the

Company's Executive Vice President, Human Capital, the authority to determine the number of

members on Plan Committee, and to appoint and remove those Committee members. In this role,

Defendant UnitedHealth, through its Executive Vice President, Human Capital, acted in a fiduciary

capacity and had the responsibility to monitor those on the Plan Committee responsible for the

loyal and prudent allocation of Plan forfeitures.




                                                    3
         CASE 0:25-cv-01751-ECT-ECW             Doc. 1    Filed 04/28/25      Page 4 of 23




         14.   The Plan Committee is the Plan’s administrator within the meaning of 29 U.S.C.

§ 1002(16)(A), and the Committee is a fiduciary for the Plan. In addition, the members of the

Committee (the Plan Committee Members) are also fiduciaries for the Plan. “[W]here, as here, a

committee or entity is named as the plan fiduciary, the corporate officers or trustees who carry out

the fiduciary functions are themselves fiduciaries and cannot be shielded from liability by the

company.” See Stewart v. Thorpe Holding Co. Profit Sharing Plan, 207 F.3d 1143, 1156 (9th Cir.

2000).

         15.   As required by 29 U.S. C. § 1102(a)(1), the Plan is established and maintained by

a written plan document, The UnitedHealth 401(k) Savings Plan (2019 Restatement) (“Plan

document”).

         16.   Defendants chose Fidelity Investments Institutional Operations Company, Inc.

(“Fidelity”) to provide Plan recordkeeping services during the Class Period.

         17.   Plaintiff Theresa M. Kotalik is a resident of Ingleside, Texas. Plaintiff Kotalik has

worked for UnitedHealth since June 2018 until present remotely as a Network Contract on the

Dental side for Specialty Benefits Network Contract Manager with a focus on Retention. She is a

current participant in the Plan.

         18.   Plaintiff Debra A. Wisner is a resident of Pequot Lakes, Minnesota. Plaintiff

Wisner worked for them from Jan 2010 until March 2021, starting in accounts payable and

finishing as a business analyst and worked at the corporate office at 9900 Bren road, Minnetonka,

MN. She rolled out of the Plan in April 2024.

         19.   Plaintiffs Joseph and Kerry Clements are residents of Golden Valley, Minnesota.

Joseph Clements was employed by UnitedHealth from October 2006 to January 2020 at both

UnitedHealth’s Eden Prairie and Minnetonka, MN, locations in the position of finance director for

capital finance. Kerry Clements was employed by UnitedHealth from 2010 to 2017 at its

Minnetonka, MN, location, in the positions of senior business process analyst, IT business analyst,




                                                 4
       CASE 0:25-cv-01751-ECT-ECW                Doc. 1     Filed 04/28/25      Page 5 of 23




and operations consultant. Joseph Clements rolled out of the Plan in April 2025 and Kerry

Clements is still in the Plan.

        20.     Plaintiffs have Article III standing to bring this action on behalf of the UnitedHealth

Plan because they suffered actual injuries to their Plan accounts by not having forfeited Plan assets

reallocated to their Plan accounts as a result of UnitedHealth reducing employer contributions for

their own benefit. Those injuries are fairly traceable to Defendants disloyally using Plan forfeitures

for their own benefit to reduce their future contributions to the UnitedHealth Plan. Finally, these

injuries diminished the savings in Plaintiffs’ retirement accounts in the Plan and reduced, dollar

for dollar (and more when compounded) Plaintiffs’ retirement savings.

        21.     Having established Article III standing, Plaintiffs may seek recovery under 29

U.S.C. § 1132(a)(2), ERISA § 502(a)(2), on behalf of the Plan and for relief that sweeps beyond

their own injuries.

        22.     The Plaintiffs and all participants in the Plan did not have knowledge of all material

facts (including, among other things, the misuse and misallocation of Plan forfeitures) necessary

to understand that Defendants breached their fiduciary duties and engaged in prohibited

transactions until shortly before this suit was filed.

        23.     Having never managed a very large 401(k) Plan, Plaintiffs, and all participants in

the Plan, lacked actual knowledge of the misuse and misallocation of Plan forfeitures.

        24.     With 267,555 active participants and $22,432,100,178 in assets under management

as of December 31, 2023, the UnitedHealth Plan is one of the single largest retirement plans in the

country. It ranks in the top 0.01% of over 500,000 401(k) plans in terms of the number of

participants and the top 0.01% of plans in terms of the value of its assets.

         ERISA FIDICIARY AND PROHIBITED TRANSACTION STANDARDS

        25.     ERISA exists, in large part, to protect the interests of participants, and their

beneficiaries, in employee retirement plans. See Aetna Health Inc. v. Davila, 542 U.S. 200, 208

(2004) (citing 29 U.S.C. § 1001(b)).



                                                   5
       CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25      Page 6 of 23




       26.     “[A]ny person who exercises discretionary authority or control in the management

or administration of an ERISA plan” is, under the statute's terms, a fiduciary. See Barchock v. CVS

Health Corp., 886 F.3d 43, 44 (1st Cir. 2018) (citing 29 U.S.C. § 1002(21)(A)).

       27.     ERISA imposes strict duties of loyalty and prudence upon fiduciaries of retirement

plans, like the UnitedHealth Plan, that are covered by ERISA.

       28.     ERISA provides that “a fiduciary shall discharge his duties with respect to a plan

solely in the interest of the participants and beneficiaries and (A) for the exclusive purpose of (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses of

administering the plan; [and] (B) with the care, skill, prudence and diligence under the

circumstances then prevailing that a prudent man acting in like capacity and familiar with such

matters would use in the conduct of like character and with like aims.” ERISA § 404(a)(1)(A), (B),

29 U.S.C. § 1104(a)(1)(A), (B).
       29.     These fiduciary duties are “the highest known to the law.” Donovan v. Bierwirth,

680 F.2d 263, 272 n.8 (2d Cir. 1982).

       30.     The continuing duty to monitor is a subset of the duty of prudence, Tibble v. Edison

Int’l, 575 U.S. 523, 529–30 (2015), and requires a plan fiduciary to “incur only costs that are

reasonable in amount and appropriate to the investment responsibilities of the trusteeship.” See

Hughes v. Northwestern University, 63 F.4th 615, 626 (7th Cir. 2023) (“Hughes II”) (quoting

RESTATEMENT (THIRD) OF TRUSTS § 90(c)(3)).

       31.     The inquiry into the duty of prudence is “context specific.” Id. at 93.

       32.     Defendants are ERISA fiduciaries as they exercise discretionary oversight,

authority, or control over the UnitedHealth Plan that it sponsors and provides to its employees.

       33.     Defendants failed to fulfill their duty to prudently control the manner in which

forfeitures were utilized by the Plan.

       34.     UnitedHealth is a party-in-interest because it is an employer “any of whose

employees are covered by such plan.” Id., § 1002(14)(C).



                                                 6
       CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25       Page 7 of 23




        35.    Moreover, because Defendants are fiduciaries of the Plan and “deal[t] with the

assets of the plan in [their] own interest or for [their] own account,” they violated the fiduciary

duty of loyalty and engaged in prohibited transactions under both 29 U.S.C. § 1106(a)(1)(D) and

29 U.S.C. § 1106(b)(1), by benefiting themselves as far as reducing their own future contributions

to the UnitedHealth Plan.
                                  FACTUAL ALLEGATIONS

        A.     UnitedHealth’s Disloyal, Imprudent, and Prohibited Uses of Plan
               Forfeitures.

        36.    The UnitedHealth Plan is funded by a combination of wage withholdings by

Plan participants and Company matching contributions, each of which is deposited into the Plan’s

trust fund.

        37.    UnitedHealth is obligated to make contributions that match employee

contributions. The matching formula currently used is a safe harbor matching contribution equal

to 100% of contributions up to 3% of eligible compensation, plus 50% of the next 3% of eligible

compensation for a maximum contribution of 4.5% per payroll period as defined in the Plan

document..

         38.   In accordance with 29 U.S.C. § 1103(a), the assets of the UnitedHealth Plan are

held in a trust fund. Upon their deposit into the Plan’s trust fund, all participant contributions and

Company contributions become assets of the Plan.

         39.   The fiduciary duties of prudence and loyalty, as well as the duty to refrain from

self-dealing, under ERISA, are violated where, as here, the employer (1) is both the plan sponsor

and plan administrator; (2) is faced with a conflict of interest in choosing between allocating plan

assets toward offsetting its own contributions to the plan or defraying plan expenses that would

otherwise be borne by plan participants; (3) fails to conduct any investigation as to which choice

would be in the best interest of the participants; and (4) decides to allocate a portion of those plan

assets toward reducing its own plan contributions because that choice best serves its own interests.




                                                  7
       CASE 0:25-cv-01751-ECT-ECW                Doc. 1     Filed 04/28/25       Page 8 of 23




        40.    Plaintiffs were all “participants” in a defined-contribution plan under ERISA

Section 3(7), 29 U.S.C. § 1002(7) during the Class Period: the UnitedHealth Plan.

        41.    As an individual account, defined contribution retirement plan, the UnitedHealth

Plan “provides for an individual account for each participant and for benefits solely upon the

amount contributed to the participant’s account, and any income, expenses, gains and losses, and

any forfeiture of accounts of other participants which may be allocated to such participant’s

account.” 29 U.S.C. § 1002(34).

        42.    Participants are fully vested in their salary deferrals plus actual earnings thereon.

Vesting in Employer contributions is based on years of qualified service and vest fully after two

years of service.

        43.    Forfeitures are the nonvested portion of a participant’s account that is lost upon

termination of employment.

        44.    The UnitedHealth Plan gave the Plan Committee a discretionary choice about how

to use the forfeitures each year.

        45.    More specifically, the relevant part of Section 6.2.3. of the Plan document (“Use of

Forfeitures”) states as follows:

        6.2.3 Use of Forfeitures. Forfeitures shall be used for the following purposes, as
        determined by the Administrative Committee, in its discretion: to make restorations
        for rehired Participants as required in Section 6.2.2, to restore any forfeited transferred
        account balances as required in Section 7.5.3, to reduce Employer Safe Harbor
        Matching Contributions, to reduce Employer Profit Sharing Contributions, to reduce
        Plan expenses in the Plan Year in which the Participant's forfeiture event occurred or
        in the succeeding Plan Year, or to correct errors, omissions and exclusions.
        46.    In other words, setting aside the restoration language, the Plan Committee had the

discretion to allocate the forfeited funds to pay plan expenses, thereby saving the participants (who

otherwise pay those expenses) money, or the Plan Committee could elect to use the forfeited funds

to reduce UnitedHealth’s own contributions to the Plan, thereby acting in UnitedHealth’s own best

interest.




                                                   8
       CASE 0:25-cv-01751-ECT-ECW              Doc. 1     Filed 04/28/25   Page 9 of 23




       47.     When Defendants decided to reduce employer contributions, by the Plan’s own

language, it was a “discretionary,” fiduciary decision.

        48.    In 2019, the Financial Statement Notes attached to the 2019 Form 5500 (page 29

of 52) states: “Nonvested account balances of terminated employees are forfeited. As of

December 31 , 2019 and 2018,forfeited nonvested accounts totaled $73,986 and $64,576,

respectively. Forfeitures can be used to reduce future employer contributions or to pay certain

administrative expenses. During the year ended December 31, 2019, employer contributions were

reduced by $3,223,568 from forfeiture accounts..” (emphasis added).

       49.     This language, consistent both with the applicable Plan and SPD language, makes

clear that the Plan Committee had fiduciary discretion to use the Plan forfeited funds for Plan

expenses, but used Plan forfeitures in a discretionary matter to pay for employer contributions.

The Plan Committee in 2019 did not use that money to reduce Plan expenses, which would have

benefitted participants rather than UnitedHealth.

        50.    In 2020, the Financial Statement Notes attached to the 2020 Form 5500 (page 29

of 51) states: “Nonvested account balances of terminated employees are forfeited. As of

December 31, 2020 and 2019, forfeited nonvested accounts totaled $157,441 and $73,986,

respectively. Forfeitures can be used to reduce future employer contributions or to pay certain

administrative expenses. During the year ended December 31, 2020, employer contributions were

reduced by $2,683,911 from forfeiture accounts.” (emphasis added).

       51.     This language, consistent both with the applicable Plan and SPD language, makes

clear that the Plan Committee had fiduciary discretion to use the Plan forfeited funds for Plan

expenses, but used Plan forfeitures in a discretionary matter to pay for employer contributions.

The Plan Committee in 2020 did not use that money to reduce Plan expenses, which would have

benefitted participants rather than UnitedHealth.

        52.    In 2021, the Financial Statement Notes attached to the 2021 Form 5500 (page 30

of 54) states: “Nonvested account balances of terminated employees are forfeited. As of



                                                 9
      CASE 0:25-cv-01751-ECT-ECW              Doc. 1   Filed 04/28/25     Page 10 of 23




December 31, 2021 and 2020, forfeited nonvested accounts totaled $125,185 and $157,441,

respectively. Forfeitures can be used to reduce future employer contributions or to pay certain

administrative expenses. During the year ended December 31, 2021, employer contributions were

reduced by $4,008,467 from forfeiture accounts” (emphasis added).

       53.     This language, consistent both with the applicable Plan and SPD language, makes

clear that the Plan Committee had fiduciary discretion to use the Plan forfeited funds for Plan

expenses, but used Plan forfeitures in a discretionary matter to pay for employer contributions.

The Plan Committee in 2021 did not use that money to reduce Plan expenses, which would have

benefitted participants rather than UnitedHealth.

        54.    In 2022, the Financial Statement Notes attached to the 2022 Form 5500 (page 29

of 53) states: “Nonvested account balances of terminated employees are forfeited. As of

December 31, 2022 and 2021, forfeited nonvested accounts totaled $74,547 and $125,185,

respectively. Forfeitures can be used to reduce future employer contributions or to pay certain

administrative expenses. During the year ended December 31, 2022, employer contributions were

reduced by $3,902,685 from forfeiture accounts.” (emphasis added).

       55.     This language, consistent both with the applicable Plan and SPD language makes

clear that the Plan Committee had fiduciary discretion to use the Plan forfeited funds for Plan

expenses, but used Plan forfeitures in a discretionary matter to pay for employer contributions.

The Plan Committee in 2022 did not use that money to reduce Plan expenses, which would have

benefitted participants rather than UnitedHealth.

        56.    In 2023, the Financial Statement Notes attached to the 2023 Form 5500 (page 29

of 54) states: “Nonvested account balances of terminated employees are forfeited. As of

December 31, 2023 and 2022, forfeited nonvested accounts totaled $49,987 and $74,547,

respectively. Forfeitures can be used to reduce future employer contributions or to pay certain

administrative expenses. During the year ended December 31, 2023, employer contributions were

reduced by $5,514,378 from forfeiture accounts.” (emphasis added).



                                                10
      CASE 0:25-cv-01751-ECT-ECW                               Doc. 1       Filed 04/28/25            Page 11 of 23




       57.         This language, consistent both with the applicable Plan and SPD language, makes

clear that the Plan Committee had fiduciary discretion to use the Plan forfeited funds for Plan

expenses, but used Plan forfeitures in a discretionary matter to pay for employer contributions.

The Plan Committee in 2023 did not use that money to reduce Plan expenses, which would have

benefitted participants rather than UnitedHealth.

       B.          Defendants Breach Their Fiduciary Duties and Engaged in Prohibited
                   Transaction By Exclusively Using Plan Forfeitures to Reduce Their Plan
                   Contributions.

       58.         The following table illustrates the amount the Plan and its participants (including

Plaintiffs) lost in potential Plan expenses being paid through forfeitures as a result of Defendants’

using Plan forfeitures exclusively for their own benefit from 2019 through 2023 (compounded

through 2024), rather than paying all Plan expenses as discretionarily permitted by the Plan:


                                     Forfeitures Not Used to Pay Plan Expenses (Disloyal Discretion)
                                                  2019         2020          2021          2022          2023         2024
        Minimum Forfeitures Available to
                   offset Plan Expenses         $3,223,568   $2,683,911   $4,008,467    $3,902,685     $5,514,378
                   (Only Direct Compensation)
                Total Direct Compensation       $6,629,262   $6,208,415   $5,999,781    $6,837,861     $6,935,140
               Forfeitures used to pay Plan
                                                   $0           $0            $0            $0             $0
                                  Expenses
                           Potential Losses     $3,223,568   $2,683,911   $4,008,467    $3,902,685     $5,514,378
             Compounding % (Plan Return)                      14.61%       15.72%        -16.51%        17.91%       20.21%
                      Potential Cumulative
                                                $3,223,568   $6,378,349   $11,389,242   $13,411,306    $21,327,255 $25,637,841
                       Compounded Losses



       59.         ERISA explicitly requires Plan fiduciaries to discharge their duties “solely in the

interest of the participants and beneficiaries and (A) for the exclusive purpose of: (i) providing

benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses of

administering the plan.” ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).




                                                                 11
       CASE 0:25-cv-01751-ECT-ECW               Doc. 1      Filed 04/28/25      Page 12 of 23




        60.      Furthermore, in deciding to use Plan forfeiture to benefit itself as far as reducing

future company contributions through use of Plan assets, Defendants acted with a conflict of

interest in administering the Plan and in managing and disposing of its assets. Such self-dealing

violates both the ERISA party-in-interest and fiduciary prohibited transaction rules under 29

U.S.C. § 1106(a)(1)(D) and 29 U.S.C. § 1106(b).

        61.      Plan assets in trust should have been used for the exclusive purpose for which they

were contributed in the first place: for the benefit of Plan participants through the reduction of their

Plan expenses.

        62.      Defendants should have allocated this forfeiture money to pay Plan expenses, as

first permitted and then required by the Plan, and then Plan participants would have been better

off.

        63.      On the other hand, using the forfeitures to reduce future employer contributions is

always in the best interest of UnitedHealth because that option decreases UnitedHealth’s own

contribution costs.

        64.      Although it is possible that reducing employer contributions may be in the best

interests of participants where there is a risk that UnitedHealth may be financially unable to satisfy

its matching contribution obligations, there is no evidence that UnitedHealth had such financial

inability.

        65.      Absent a risk that UnitedHealth would be unable to satisfy its contribution

obligations under the Plan, however, using forfeitures to “pay plan expenses” would be in the

participants’ best interest because that option would reduce or eliminate amounts otherwise

charged to their accounts to cover such expenses.

        66.      In deciding between using the forfeiture to benefit UnitedHealth or using the

forfeitures to benefit the participants, Defendants are presented with a conflict of interest in

administering the Plan and managing and disposing of its assets.




                                                  12
      CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25      Page 13 of 23




       67.     While Defendants’ decisions to use the Plan’s forfeitures to reduce its outstanding

and unpaid contributions benefitted the UnitedHealth by lowering its costs, it harmed the Plan,

along with its participants and beneficiaries, by reducing the amount of assets the Plan otherwise

would have received and by causing deductions from participants’ accounts to cover expenses that

otherwise would have been covered in whole or in part by Plan forfeitures.

       68.     The deduction of Plan expenses from the participants’ accounts reduces the funds

available to participants for distribution and/or investing and deprives the Plan of funds that

otherwise would have been earned on the amounts deducted.

       69.     In so doing, Defendants breached their fiduciary duty of loyalty to the Plan, and

cost the Plaintiffs and class members tens of millions of dollars of lost retirement income.

       70.     The forfeiture money should not have been used to benefit UnitedHealth through

reduced Plan employer contributions and instead, should have been allocated to Plan participant

accounts to pay Plan expenses.

        71.    ERISA also provides that “a fiduciary shall discharge his duties with respect to a

plan solely in the interest of the participants and beneficiaries and . . . (B) with the care, skill,

prudence and diligence under the circumstances then prevailing that a prudent man acting in like

capacity and familiar with such matters would use in the conduct of like character and with like

aims.” ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B).

       72.     Despite the conflict of interest presented by the decision to use Plan forfeitures for

UnitedHealth’s own benefit, Defendants failed to undertake any prudent investigation into which

option the most prudent action to take.

       73.     Defendants did not, for example, investigate whether there was a risk that

UnitedHealth would default on its Plan contributions if forfeitures were used to pay Plan expenses,

or evaluate whether there were sufficient forfeitures to eliminate the Plan expenses charged to

participants and still offset a portion of UnitedHealth’s own contribution obligations, as a prudent

person would have done.



                                                 13
      CASE 0:25-cv-01751-ECT-ECW                Doc. 1      Filed 04/28/25        Page 14 of 23




        74.     Defendants also failed to consult with independent non-conflicted decisionmakers

to advise them in deciding upon the best course of action for allocating the forfeitures in the Plan,

as a prudent person would have done.

        75.     Instead, Defendants have consistently and reflexively chosen to use the forfeitures

for their own interest, to the detriment of the Plan and its participants, by allocating all forfeitures

toward reducing UnitedHealth’s outstanding and unpaid contributions owing to the Plan.

        76.     For each year between 2019 and 2024, UnitedHealth was under no risk of

defaulting on its contribution obligations to the Plan. Nevertheless, throughout that period,

Defendants consistently based the decision of how to allocate forfeitures solely on their own self-

interest and failed to consider the interests of the Plan and its participants.

        77.     These breaches of the duty of loyalty and prudence, as well as the various prohibited

transactions, cost the Plaintiffs and class members tens of millions of dollars in lost Plan assets

that should have been used to pay off Plan expenses.

                                 CLASS ACTION ALLEGATIONS
        78.    Plaintiffs bring this action as a class action pursuant to Rules 23(a) and 23(b)(1), or,

in the alternative, 23(b)(2), of the Federal Rules of Civil Procedure on behalf of the following class

of similarly situated persons:

                All participants in and beneficiaries of the UnitedHealth 401(k)
                Savings Plan at any time from the earlier of (i) six years before the
                filing of this action, or (ii), in the event the Court determines that
                Defendants have concealed the facts and circumstances that would
                have apprised Plaintiffs and the Class of the existence of Defendants’
                breaches, through the date of judgment.

         79.    The members of the class are so numerous that joinder of all members is

impracticable. At all relevant times, the number of forfeiture class members was approximately

two hundred and fifty thousand (250,000) or more.

        80.     Common questions of law and fact exist as to all members of the class. Among

such questions are:


                                                   14
     CASE 0:25-cv-01751-ECT-ECW                Doc. 1     Filed 04/28/25     Page 15 of 23




     i. Whether Defendants failed in their fiduciary duties of loyalty and prudence, with respect
        to the administration, management and supervision of Plan services providers in
        allocating Plan forfeitures;

    ii. Whether Defendants engaged in party-in-interest or fiduciary prohibited transactions
        with Plan assets, by using Plan forfeitures to reduce UnitedHealth’s Plan contributions
        rather than reallocating those plan assets to pay Plan expenses; and,

    iii. Whether Defendants’ breaches of fiduciary duties and prohibited transactions caused
         losses to the Plan and its participants, and if so, in what amounts.

       81.     Plaintiffs’ claims are typical of the claims of the class pursuant to Federal Rule of

Civil Procedure 23(a)(3), because Plaintiffs were participants during the time period at issue and

all participants in the Plan were harmed by Defendants’ misconduct for the class.

       82.     Plaintiffs will adequately represent the class pursuant to Federal Rule of Civil

Procedure 23(a)(4), because they were participants in the Plan during the class period, have no

interest that conflicts with the Class, are committed to the vigorous representation of the Class,

and have engaged experienced and competent lawyers to represent the Class.

       83.    Class certification of Plaintiffs’ claims is appropriate pursuant to Fed. R. Civ. P.

23(b)(1) because the prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications which would establish incompatible standards of

conduct for Defendants, and/or because adjudications with respect to individual class members

would as a practical matter be dispositive of the interests of non-party class members.

       84.    In the alternative, certification is also appropriate under Federal Rule of Civil

Procedure 23(b)(2) because Defendants have acted or refused to act on grounds that apply

generally to the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

       85.    Plaintiffs’ attorneys have substantial and varied experience in complex ERISA and

class action litigation and will adequately represent the class.




                                                 15
     CASE 0:25-cv-01751-ECT-ECW                  Doc. 1    Filed 04/28/25      Page 16 of 23




       86.    The claims brought by the Plaintiffs arise from fiduciary breaches and prohibited

transactions as to the Plan in its entirety and does not involve mismanagement of individual

accounts.

       87.    The claims asserted on behalf of the Plans in this case fall outside the scope of any

exhaustion language in the individual participants’ Plan.

       88.    Exhaustion is intended to serve as an administrative procedure for participants and

beneficiaries whose claims have been denied and not where a participant or beneficiary brings

suit on behalf of a Plan for breaches of fiduciary duty.

       89.    Under ERISA, an individual “participant” or “beneficiary” is distinct from an

ERISA Plan. A participant’s obligation – such as a requirement to exhaust administrative

remedies – does not, by itself, bind the Plan.

       90.    Moreover, any administrative appeal would be futile because the entity hearing the

appeal (the Plan Administrator) is the same Plan Administrator that made the decisions that are

at issue in this lawsuit. Policy supporting exhaustion of administrative remedies in certain

circumstances – that the Court should review and where appropriate defer to a Plan

administrator’s decision – does not exist here because courts will not defer to Plan administrator’s

legal analysis and interpretation.

                              FIRST CLAIM FOR RELIEF
                                 Breach of Duty of Loyalty
                     (Plaintiffs, On Behalf Of Themselves And Class,
                  Against Plan Committee – Misallocation Of Forfeitures)
       91.    Plaintiffs restate the above allegations as if fully set forth herein.

       92.    Defendant Plan Committee is a fiduciary of the UnitedHealth Plan under 29 U.S.C.

§§ 1002(21) and/or 1102(a)(1).

       93.    Pursuant to 29 U.S.C. § 1104(a)(1)(A), Defendant Plan Committee was required to

discharge their duties to the UnitedHealth Plan “solely in the interest of the participants and




                                                  16
     CASE 0:25-cv-01751-ECT-ECW                 Doc. 1     Filed 04/28/25     Page 17 of 23




beneficiaries” and “for the exclusive purpose of: (i) providing benefits to participants and their

beneficiaries; and (ii) defraying reasonable expenses of administering the plan.”

       94.       Defendant Plan Committee have continually breached this duty of loyalty with

respect to their control and management of the Plan’s assets throughout the Class Period by

choosing to utilize forfeited funds in the Plan for the sole benefit of UnitedHealth rather than

exclusively in the interest of the Plan participants and beneficiaries.

       95.       Instead of acting solely in the interest of Plan participants by utilizing forfeited

funds in the Plan to reduce and eliminate the administrative expenses charged to their individual

accounts, or provide additional allocations to Plan accounts, Defendant Plan Committee

discretionarily chose, as fiduciaries, to use Plan assets for the exclusive purpose of reducing

UnitedHealth’s outstanding and future contributions to the Plan, thereby saving UnitedHealth tens

of millions of dollars at the expense of the Plan and its participants.

       96.       In making this decision, Defendant Plan Committee was motivated primarily or

exclusively by their own self-interest rather than the interests of the Plan’s participants and

beneficiaries.

       97.       As a direct and proximate result of Defendant Plan Committee’s fiduciary breaches

described herein, the Plan suffered injury and loss for which it is personally liable and is subject

to appropriate equitable relief, pursuant to 29 U.S.C. § 1109, including, without limitation, the

disgorgement of all ill-gotten profits to Defendants resulting from the breach of their duty of

loyalty.

       98.       Each Defendant knowingly participated in the breach of the other Defendants,

knowing that such acts were a breach, enabled other Defendants to commit a breach by failing to

lawfully discharge its own fiduciary duties, knew of the breach by the other Defendants and failed

to make any reasonable effort under the circumstances to remedy the breach. Thus, each

Defendant is liable for the losses caused by the breach of its co-fiduciary under 29 U.S.C. §

1105(a).



                                                  17
      CASE 0:25-cv-01751-ECT-ECW                Doc. 1     Filed 04/28/25       Page 18 of 23




                                SECOND CLAIM FOR RELIEF
                                  Breach of Duty of Prudence
                   (Plaintiffs, On Behalf Of Themselves and Class, Against
                       Plan Committee – Misallocation Of Forfeitures)

       99.     Plaintiffs restate the above allegations as if fully set forth herein.

       100.    Pursuant to 29 U.S.C. § 1104(a)(1)(B), Defendant Plan Committee was required to

discharge its duties with respect to the UnitedHealth Plan “with the care, skill, prudence, and

diligence under the circumstances then prevailing that a prudent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of a like character and with

like aims.”

       101.    Defendant Plan Committee has continuously breached its duty of prudence under

29 U.S.C. § 1104(a)(1)(B) throughout the class period by declining to use the forfeited funds in

the Plan to eliminate Plan expenses charged to participant accounts, and instead using such Plan

assets to reduce UnitedHealth’s own future contributions to the Plan.

       102.    In deciding how to allocate forfeitures, Defendant Plan Committee utilized an

imprudent and flawed process. Despite the conflict of interest presented by this decision,

Defendant Plan Committee failed to undertake any reasoned and impartial decision-making

process to determine whether using the forfeited funds in the Plan to reduce the Company’s own

future contribution expenses, as opposed to the administrative expenses charged to participant

accounts, was prudent, and failed to consider whether participants would be better served by

another use of these Plan assets after considering all relevant factors.

       103.    By refusing to use forfeited funds in the Plan to reduce or eliminate the Plan

expenses charged to participant accounts, and instead deciding to use these Plan assets to reduce

UnitedHealth’s own future contribution expenses, Defendant Plan Committee caused the Plan to

receive fewer contributions that would otherwise have increased Plan assets and caused

participants to incur expense deductions from their individual accounts that would otherwise have

been covered in whole or in part by utilizing the forfeited funds to pay Plan expenses.



                                                  18
      CASE 0:25-cv-01751-ECT-ECW                  Doc. 1     Filed 04/28/25      Page 19 of 23




       104.      As a direct and proximate result of Defendant Plan Committee’s fiduciary breaches

described herein, the Plan suffered injury and loss for which Defendant Plan Committee is

personally liable and is subject to appropriate equitable relief, pursuant to 29 U.S.C. § 1109,

including, without limitation, the disgorgement of all ill-gotten profits to Defendants resulting

from the breach of their duty of prudence.

       105.      Each Defendant knowingly participated in the breach of the other Defendants,

knowing that such acts were a breach, enabled other Defendants to commit a breach by failing to

lawfully discharge its own fiduciary duties, knew of the breach by the other Defendants and failed

to make any reasonable effort under the circumstances to remedy the breach.              Thus, each

Defendant is liable for the losses caused by the breach of its co-fiduciary under 29 U.S.C. §

1105(a).

                                  THIRD CLAIM FOR RELIEF
                                Fiduciary Prohibited Transactions
                           (Plaintiffs, On Behalf Of Themselves and Class,
                        Against Plan Committee – Self-Dealing With Forfeitures)

           106. Plaintiffs restate the above allegations as if fully set forth herein.
           107. 29 U.S.C. § 1106(b) provides that “[a] fiduciary with respect to a plan shall not,”

among other things, “deal with the assets of the plan in his own interest or for his own account.”

           108. Defendant Plan Committee violated this prohibition in its management and control

of forfeiture funds in the Plan. By allocating these Plan assets toward offsetting UnitedHealth’s

future contributions owing to the Plan, thereby saving UnitedHealth tens of millions of dollars

in contribution expenses, Defendant Plan Committee dealt with the assets of the Plan in their

own interest and for their own account.

           109. As a result of this prohibited conduct, Defendant Plan Committee caused the Plan

to suffer losses in the amount of the Plan assets that were substituted for employer future

contributions and the lost investment returns on those assets.




                                                    19
      CASE 0:25-cv-01751-ECT-ECW                  Doc. 1     Filed 04/28/25        Page 20 of 23




         110. Each Defendant is personally liable under 29 U.S.C. § 1109(a) to make good to the

Plan any losses to the Plan resulting from the prohibited conduct alleged in this claim, to restore

to the Plan all assets and profits obtained through the use of Plan assets and is subject to other

equitable or remedial relief as appropriate.

                                FOURTH CLAIM FOR RELIEF
                            Party-In-Interest Prohibited Transactions
                         (Plaintiffs, On Behalf Of Themselves and Class,
                        Against Plan Committee – Benefitting Employer)
        111.     Plaintiffs restate the above allegations as if fully set forth herein.

        112.     29 U.S.C. § 1106(a)(1)(D) provides that “[a] fiduciary with respect to a plan shall

not cause the plan to engage in a transaction, if he knows or should know that such transaction

constitutes a direct or indirect - transfer to, or use by or for the benefit of a party in interest, of any

assets of the plan.”

        113.     Defendant Plan Committee, as fiduciaries of the UnitedHealth Plan, caused the

Plan to engage in a transaction that used the assets of Plan for the benefit of a party in interest,

UnitedHealth, by using Plan forfeitures to reduce the future employer contributions of

UnitedHealth.

        114.    By allocating Plan forfeitures to be used for the benefit of reducing future employer

contributions, the Plan Committee misused tens of millions of dollars of Plan forfeitures which

could have been reallocated instead to Plan participant’s accounts.

        115.    Defendant Plan Committee and its members are personally liable under 29 U.S.C.

§ 1109(a) to make good to the Plan any losses to the Plan resulting from the prohibited conduct

alleged in this claim, to restore to the Plan all assets and profits obtained through the improper use

of Plan assets, and is subject to other equitable or remedial relief as appropriate.

        116.    Each Defendant is personally liable under 29 U.S.C. § 1109(a) to make good to the

Plan any losses to the Plan resulting from the prohibited conduct alleged in this claim, to restore




                                                    20
      CASE 0:25-cv-01751-ECT-ECW               Doc. 1     Filed 04/28/25      Page 21 of 23




to the Plan all assets and profits obtained through the use of Plan assets and is subject to other

equitable or remedial relief as appropriate.

                               FIFTH CLAIM FOR RELIEF
                     Failure to Adequately Monitor Other Fiduciaries
                       (Plaintiffs, on behalf of Themselves and Class,
              Against Defendant UnitedHealth – Misallocation of Forfeitures)

        117. Plaintiffs restate the above allegations as if fully set forth herein.

        118. Under Plan Section 12.3, Defendant UnitedHealth delegated to the Company's

Executive Vice President, Human Capital, the authority to determine the number of members on

Plan Committee, and to appoint and remove those Committee members. Defendant UnitedHealth

knew or should have known that these fiduciaries had critical responsibilities for the Plan.

        119. In light of this authority, Defendant UnitedHealth had a fiduciary duty to monitor

those individuals responsible for Plan forfeitures on the Plan Committee to ensure that they were

adequately performing their fiduciary obligations, and to take prompt and effective action to

protect the UnitedHealth Plan in the event that these individuals were not fulfilling those duties.

        120. Defendant UnitedHealth had a duty to ensure that the individuals responsible for

Plan forfeitures possessed the needed qualifications and experience to carry out their duties (or

use qualified advisors and service providers to fulfill their duties); had adequate financial

resources and information; maintained adequate records of the information on which they based

their decisions and analysis with respect to the UnitedHealth Plan’s forfeitures; and reported

regularly to Defendant UnitedHealth.

        121. The objectively disloyal, imprudent, and conflicted manner in which Defendant

Plan Committee handled Plan forfeitures inferentially establish that Defendant UnitedHealth

breached their duty to monitor by, among other things:

        (a)    Failing to monitor and evaluate the performance of individuals responsible
               for Plan forfeitures on the Plan Committee or have a system in place for
               doing so, standing idly by as the UnitedHealth Plan misallocated Plan
               forfeiture for UnitedHealth’s own benefit;


                                                 21
     CASE 0:25-cv-01751-ECT-ECW                 Doc. 1     Filed 04/28/25       Page 22 of 23




        (b)    Failing to monitor the process by which the Plan Committee was evaluated
               and failing to investigate the proper use of Plan forfeitures; and

        (c)    Failing to remove individuals responsible for Plan forfeitures on the Plan
               Committee whose performance was inadequate in that these individuals
               continued to misallocate Plan forfeitures for the benefit of UnitedHealth.

        122. As the consequences of the breaches of the duty to monitor for Plan forfeitures, the

Plaintiffs and Plan participants suffered tens of millions of dollars of objectively unreasonable

and unnecessary monetary losses.

        123. Pursuant to 29 U.S.C. §§1109(a) and 1132(a)(2), Defendant UnitedHealth is liable

to restore to the UnitedHealth Plan all losses caused by their failure to adequately monitor

individuals responsible for Plan forfeitures on the Plan Committee. In addition, Plaintiffs are

entitled to equitable relief and other appropriate relief as set forth in the Prayer for Relief.

       WHEREFORE, Plaintiffs pray that judgment be entered and requests the following relief:

       A.      A determination that this action may proceed as a class action under Rule 23(b)(1),
               or in the alternative Rule 23(b)(2), of the Federal Rules of Civil Procedure;

       B.      Designation of Plaintiffs as Class Representatives and designation of Plaintiffs’
               counsel as Class Counsel;

       C.      A Declaration the Defendants are fiduciaries, have breached their fiduciary duties
               of prudence under ERISA, and engaged in fiduciary prohibited transactions,
               causing harm to Plan participants and beneficiaries;

       D.      An Order compelling the Defendants to make good to the Plan all losses to the Plan
               resulting from Defendants’ fiduciary breaches and prohibited transactions,
               including restoring to the Plan all losses resulting from using Plan forfeitures to
               inappropriately benefit UnitedHealth by reducing their future employer
               contributions, and restoring to the Plan all profits the Defendants made through use
               of the Plan’s assets, and restoring to the Plan all profits which the Participants
               would have made if the Defendants had not engaged in fiduciary breaches or
               prohibited transactions;

       E.      An Order requiring UnitedHealth to disgorge all profits received from, or in respect
               of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in the form
               of an accounting for profits, imposition of constructive trust, or surcharge against



                                                  22
    CASE 0:25-cv-01751-ECT-ECW              Doc. 1     Filed 04/28/25     Page 23 of 23




             UnitedHealth as necessary to effectuate relief, and to prevent UnitedHealth’s unjust
             enrichment;

      F.     An Order enjoining Defendants from any further violation of their ERISA fiduciary
             responsibilities, obligations, and duties, only with regard to Plan forfeitures.

      G.     Other equitable relief to redress Defendants’ illegal practices and to enforce the
             provisions of ERISA as may be appropriate, including appointment of an
             independent fiduciary/consultant or fiduciaries to run the Plan and removal of plan
             fiduciaries deemed to have breached their fiduciary duties with regard to Plan
             forfeitures;

      H.     An award of pre-judgment interest;

      I.     An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g) and the
             common fund doctrine; and

      J.     Such other and further relief as the Court deems equitable and just.


                                            Respectfully submitted,

Date: April 28, 2025                        CUMMINS & BONESTROO

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                                              23
